                 Case:19-11079-KHT Doc#:4 Filed:02/15/19                                           Entered:02/15/19 21:25:45 Page1 of 1


 Fill in this information to identify the case:
 Debtor name Willowood USA Holdings, LLC
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                         Check if this is an

 Case number (if known):                19-11079                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Andy King                                                       Civil Litigation       Contingent                                                                                $0.00
 2544 Bridle Path                Andyk@willowood                 Circuit Court of       Unliquidated
 Court                           usa.com                         Multnomah              Disputed
 Cape Girardeau, MO              573) 339-9349                   County, Oregon
 63701
 Brian D. Heinze                       Civil Litigation                                 Contingent                                                                                $0.00
 422 Jasmine Way                 Brianh@heinzeagc
                                       Court of Chancery                                Unliquidated
 Roseburg, OR 97471              onsulting.com
                                       of the State of                                  Disputed
                                 (541) 643-6746
                                       Delaware
 Joseph Middione, Jr                   Civil Litigation                                 Contingent                                                                                $0.00
 1667 W. Red Cloud   JoeM@willowoodu Circuit Court of                                   Unliquidated
 Drive               sa.com            Multnomah                                        Disputed
 Saint George, UT    (559) 288-5674    County, Oregon
 84770
 Key Bank, N.A.      Timothy M.        Substantially all                                                         $9,865,559.80                   Unknown                   Unknown
 1675 Broadway       Swanson           assets
 Denver, CO 80202
                     tim.swanson@moy
                     ewhite.com
                     303.292.7954
 Tree Line Capital   Lindsey Henrikson Substantially all                                                       $20,003,261.55                    Unknown                   Unknown
 Partners                              assets
 101 California St., lindsey.henrikson
 Ste 1700            @lw.com
 San Francisco, CA   312.876.6538
 94111




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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